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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR05-260-RSL
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    MATTHEW A. ERICKSON,         )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count 1:    Conspiracy to Distribute Cocaine Base, in violation of Title 21
18
                          U.S.C., Sections 841(a)(1),841(b)(1)(A), and 846;
             Count 2:     Conspiracy to Commit Kidnaping and Other Offenses, in violation
19                        of Title 18, U.S.C., Section 371;
20           Count 3:     Kidnaping, in violation of Title 18, U.S.C., Sections 2422(a)(1) and
21                        2;
             Count 4:     Interstate Transportation in Furtherance of Prostitution, in violation
22                        of Title 18, U.S.C., Sections 2422(a) and 2;
23           Count 5:     Interstate Travel in Aid of Racketeering, in violation of Title 18,
24
                          U.S.C., Sections 1952(a)(2) and 2;
             Count 6:     Interstate Transportation of a Stolen Vehicle, in violation of Title 18,
25                        U.S.C.; Sections 2312 and 2.
26   Date of Detention Hearing: November 7, 2005.

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 1            The Court, having conducted a contested detention hearing pursuant to Title 18
 2 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
 3 hereafter set forth, finds that no condition or combination of conditions which the defendant
 4 can meet will reasonably assure the appearance of the defendant as required and the safety
 5 of any other person and the community. The Government was represented by Todd
 6 Greenberg. The defendant was represented by Kenneth Kanev.
 7            The case came before the court as a Motion to Reconsider an earlier detention
 8 order. At the prior hearing, the defense stipulated to detention, largely based upon a belief
 9 that the state detainer was in place. This hearing was granted by the Court for the purpose
10 of hearing argument as though the matter was before it for the first time, once defense
11 advised the Court that there was no state detainer.
12            The defense urged the Court to release the Defendant his grandmother, Janet
13 Davis, who was also present in court. The Court questioned her to determine suitability of
14 the placement. The Defendant’s history of substance abuse (using one ounce of marijuana
15 daily) and his history of suicidal ideation presented important concerns. From Davis’
16 answers the Court was not satisfied that placement in her home would satisfy the Court’s
17 concerns for both public safety, nor obviate concerns of risk of flight.
18            The Government in its argument for detention reiterated the seriousness of this
19 offense involving the kidnap and transport of minors across state boundaries, as well as the
20 Defendant’s own confession to having beaten the victims with a tire iron. The criminal
21 history discovered by the Pre-trial Services department reveals ongoing criminal activity as
22 a youth and young adult, including crimes of assault and drug possession.
23            Pre-trial Services interviewed Ms. Davis to learn of the conditions of placement in
24 her home and concluded that detention was a better alternative.
25 //
26 //


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 1             FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2             Using the factors under Title 18 § 3142 (g), the Court finds that the presumption
 3 of detention has been not been overcome. Title 18 U.S.C. § 3142(e). 1
 4 As reflected in the Pre-Trial Services Report, the absence of a suitable placement, a
 5 legitimate source of income, nor a stable residence-- having lived for months from one
 6 hotel to another-- presents a reasonable at risk of flight. Based upon the foregoing
 7 information, it appears that there is no condition or combination of conditions that would
 8 reasonably assure future Court appearances and/or the safety of other persons or the
 9 community.
10
11             It is therefore ORDERED:
12             (l)   The defendant shall be detained pending trial and committed to the
13                   custody of the Attorney General for confinement in a correction facility
14                   separate, to the extent practicable, from persons awaiting or serving
15                   sentences or being held in custody pending appeal;
16             (2)   The defendant shall be afforded reasonable opportunity for private
17                   consultation with counsel;
18             (3)   On order of a court of the United States or on request of an attorney for
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20
           1
            Statutory factors include; a) The nature and circumstances of the offense charged,
21
   including whether the offense is a crime of violence or involves a narcotic drug; b) The
22 weight of the evidence; c) The history and characteristics of the person, including:
   The person’s character, physical and mental condition, family ties, employment, financial
23 resources, length of residence in the community, community ties, past conduct, history
24 relating to drug or alcohol abuse, criminal history, record concerning appearance at court
   proceedings, and whether at the time of the current offense or arrest, the person was on
25 probation, on parole, on other release pending trial, sentencing, appeal, or completion of
26 sentence of an offense under Federal, State, or local law; (d) Risk of danger to the
   community.

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 1               the Government, the person in charge of the corrections facility in which
 2               the defendant is confined shall deliver the defendant to a United States
 3               Marshal for the purpose of an appearance in connection with a court
 4               proceeding; and
 5         (4)   The clerk shall direct copies of this order to counsel for the United
 6               States, to counsel for the defendant, to the United States Marshal, and to
 7               the United States Pre-trial Services Officer.
 8         DATED this 8th day of November, 2005.
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                                                    A
                                                    MONICA J. BENTON
11                                                  United States Magistrate Judge

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